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                                                                                                         E-FILED
                                                                   Tuesday, 29 September, 2020 11:26:11 AM
                                                                                Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS


DEBORAH LAUFER, Individually,
                                                       Case No.: 3:20-cv-03149-SEM-TSH
               Plaintiff ,
v.

Q ILL DEVELOPMENT LLC d/b/a
EAGLES NEST HOTEL, an Illinois Limited
Liability Company,

            Defendant.
___________________________


               PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff, by and through undersigned counsel, respectfully submits this Notice Of

Supplemental Authority in support of her standing to pursue this action.

       In Kennedy v. Nisha, Inc., 8:20-cv-367-TPB-CPT, DE 34 (M.D. Fla. 9/17/20), Exhibit A

attached hereto, the Court rejected the argument that a plaintiff must intend to book a room at the

hotel in order to have standing.

       The Court first noted that the four factor test (analyzing such factors as the distance between

the residence and physical property) is “difficult to apply in website cases, which usually present

intangible barriers that can be felt far away from the property.” Id., at 6.

       The Court also relied on Parks v. Richard, 2020 U.S. Dist. Lexis 86790 (M.D. Fla. 2020),

and Poschmann v. Fountain TN, LLC, 2019 U.S. Dist. Lexis 159417, **4-6 (M.D. Fla. 2019),

wherein the “focus of the tester’s ADA claim was limited to the hotel’s website, not the hotel itself.

In these kinds of cases, the tester brings a claim with no intention whatsoever of ever visiting the



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hotel property. Stated differently, the tester is testing the website’s ADA compliance, not the hotel’s

ADA compliance.” Nisha, at 7.

       After noting both sides of the public policy arguments both for and against such standing the

Court ultimately denied the defendant’s motion and held, “the weight of the law, as it currently

stands, supports Plaintiff’s argument as to standing.” Id. at 7-8.

       Respectfully submitted,
                                                       By: /s/ Kimberly A. Corkill, Esq.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served via the Court's

electronic filing system upon all parties of record this September 29, 2020.

                                                       By: /s/ Kimberly Corkill




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